Case 1:21-cr-00670-CJN Document 28-10 Filed 02/04/22 Page 1 of 8




           EXHIBIT 10
       Case 1:21-cr-00670-CJN Document 28-10 Filed 02/04/22 Page 2 of 8



                                                      U.S. Department of Justice

                                                      Ronald C. Machen Jr.
                                                      United States Attorney

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                                                     Judit'iary Center
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                                                     ll'oshington, D.(:. 20530


                                                      March 31,2015

The Honorable.Tohn A. Boehner
Speaker
U.S. House of Representatives
Washington, DC 20515

Dear Mr. Speaker:

        On May 7, 2014, you ref'erred the matter of Lois G. Lemer, former Director, Exempt
Organizations, Internal Revenue Service (lRS). to the United States Attorney's Office for the
District of Columbia, after the U.S. House of Representatives voted to hold Ms. Lerner in
contempt of Congress under 2 U.S.C. $ 192. See H.R. Res. 574, l13th Cong. (2014). As yor-r
know, the House did so after Ms. Lerner, on March 5, 2074, asserted her Fifth Amendment
privilege not to testify at a hearing held by the House Committee on Oversight and Government
Refbrm. The Committee had previously determined that Ms. Lemer waived this privilege when
she made an opening statement during an appearance before the Committee on May 22,2013.
See H.R. Rep. No. 113-415, at 11-12 (2014) (the "Committee Report").

        Under 2 U.S.C. $ 192, a person is guilty of contempt of Congress if he or she, "having
been summoned as a witness by the authority of either House of Congress to give testimony or to
produce papers upon any matter under inquiry before . . . any committee of either House of
Congress, willfully . . . refuses to answer any question pertinent to the question under inquiry."
Where the House of Representatives has voted to find a witness in contempt,2 U.S.C. $ 194
directs the Speaker of the House to "certify" the matter "to the appropriate United States
attomey. whose duty it shall be to bring the matter before the grand jury for its action."

        Upon receipt of your retbrral. a team of experienced career prosecutors in this United
States Attorney's Office was assigned   to assess the matter. As discussed in more detail below,
after extensive analysis of the facts of this matter and the applicable law, it was the team's
conclusion that the Committee followed proper procedures in notifying Ms. Lerner that it had
rejected her claim of privilege and gave her an adequate opportunity to answer the Committee's
questions. Thus, Ms. Lerner's refusal to answer would be "willfirl" Llnder Section 192 unless
otherwise excused. However, the team also concluded that Ms. Lerner did not waive her Fifth
Amendment privilege by making an opening statement on May 22,2013, because she made only
general claims of innocence. Thus, the Fiflh Amendment to the Constitution would provide Ms.
       Case 1:21-cr-00670-CJN Document 28-10 Filed 02/04/22 Page 3 of 8


Lerner with an absolute defense should she be prosecuted under Section 192 for her refusal to
testify.

        Given this assessment, we have furlher concluded that it is not appropriate for a United
States Attomey to present a matter to the grand jury for action where, as here. the Constitution
prevents the witness tiom being prosecuted fbr contempt. We respectlirlly inforrn you that we
will therefbre not bring the Congressional contempt citation befbre a grand jury or take any other
action to prosecute Ms. Lerner for her refusal to testity on March 5.2014.

I.     Factual and Procedural Background

       The proceedings at issue arose from the Committee's investigation of-complaints that IRS
employees had delayed fbr partisan political reasons the approval of applications by certain
organizations for status as tax-exempt entities. On May 14, 2013, the chairman of the
Comrnittee, Representative Darrell E. Issa, sent a letter inviting Ms. Lerner to testify at a hearing
on May 22. 2013. After Ms. Lerner's counsel infbrmed Cornrnittee staff mernbers that Ms.
Lemer would refuse to answer questions on Fifth Amendment grounds, Chairman Issa issued a
subpoena on May 20,2013, compelling Ms. Lerner to testify two days later.

       Ms. Lerner appeared at the hearing on May 22,2013, and gave an opening statement that
included the following:

               I have not done anything wrong. I have not broken any laws. I
               have not violated any IRS rules or regulations. and I have not
               provided false infonnation to this or any other congressional
               committee.

               And while    I would very much like to answer the Committee's
               questions today, I've been advised by rny counsel to assert my
               constitutional right not to testity or answer questions related to the
               subject matter of this hearing. After very caretul consideration. I
               have decided to follow my counsel's advice and not testify or
               answer any of the questions today.

Chairman Issa responded that he believed Ms. Lerner had waived her Fiflh Amendment privilege
and asked her to reconsider her position on testifying. Ms. Lerner, however, cor-rtinued to refirse
to answer any questions, and the chairman excused her. reserving the right to recall her as a
witness at a later date.

       On June 28, 2013, the Committee held a business meeting at which           it approved a
resolution determining that the opening statement offered by Ms. Lerner constituted a waiver ol
her Fifth Amendment privilege. On February 25,2014. Chairman Issa sent a letter informing Ms.
Lemer that the Committee had rejected her Fifth Amendment privilege claim, and that she was
expected to appear and answer the Committee's questions at a reconvened hearing on March 5,
2014. Ms. Lemer's counsel responded by letter, stating that although he and his client
understood that the Committee believed that Ms. Lerner waived her rights, Ms. Lerner would
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       Case 1:21-cr-00670-CJN Document 28-10 Filed 02/04/22 Page 4 of 8


continue to assert her Fifth Amendment privilege at any subsequent hearing. The Committee.
however, insisted that Ms. Lemer appear at the reconvened hearing.

        When the hearing reconvened on March 5, 2014, with Ms. Lerner and her counsel
present. Chairman Issa stated for the record that the Committee had voted and tbund that Ms.
Lerner had waived her Fifth Amendment privilege by making a voluntary opening statement on
lr4ay 22.2013. See The IRS: Targeting Americans Jbr Their Political BelieJi, Hearing Be./bre the
H. Comm. on Ot,ersight and Government Reform.l l3th Cong. 2 (Mar.5,2014) ("March 5,2014
Hearing"). Chairman Issa added that "if Ms. Lemer continued to refuse to answer" the
Committee's questions. the Comrnittee "may proceed to consider whether she should be held in
contempt." Id. at 3.

        Chairman lssa then proceeded to ask a series of factual questions about the matters under
investigation by the Cornmittee. To each question, Ms. Lemer stated that she declined to answer
based on the advice of- her counsel that she had rTot waived her Fitth Amendment privilege. Each
tirne Ms. Lerner provided such a response. Chairman Issa proceeded to his next question.
Eventually" Chairman Issa adjourned the hearing upon determining that Ms. Lemer would not
cooperate with the Committee. The May 7,2014, referral to this Ofllce fbllowed.

       Legal Analysis

       A.      The Committee Follorved Proper Procedures in Notifying Ms. Lerner That It
               Had Rejected Her Claim of Privilege, and Thereafter Gave Her an Adequate
               Opportunity to Answer the Committee's Questions.

       The Supreme Court has held that Section 192 "requires a criminal intent - in this
instance, a deliberate, intentional ref-usal to answer." Quinn v. tJniled Slutes,349 U.S. 155, 165
(1955). Thus. where a witness objects to a question, e.9., by asserting a privilege, the questioning
committee may either "sustain the objection and abandon the question. even though the objection
rnight actually be without merit," or "disallow the objection and thus give the witness the choice
of answering or not." Id. However, "unless the witness is clearly apprised that the committee
demands his answer notwithstanding his objections, there can be no conviction under fSection]
192 tbr retusal to answer that question.'; ld. at 166.

       Both Ms. Lerner's counsel and some Members of the Committee have argued that Ms.
Lerner carurot be prosecuted under Section 192 because the Committee did not fbllow
procedures designed to ensure that a witness is "clearly apprised" that her testimony is required.
Specifically. they have argued that when a witness asserts a claim of privilege, the questioning
committee should, with respect to each question, specifically overrule the claim, warn the
witness that she will be held in contempt if she continues to refuse to answer, and then give the
witness another opportunity to answer.

        We agree with the view of the Committee majority, however. that Ms. Lemer was given
notice that her claim of privilege had been rejected and suft'icient opportunity to answer the
Cornmittee's questions atter receiving that notice. In three Supreme Court cases relied upon by
Ms. Lerner. the relevant Congressional committee never actually made a ruling disallowing the



                                                 3
        Case 1:21-cr-00670-CJN Document 28-10 Filed 02/04/22 Page 5 of 8


claim of privilege. See Quinn,349 U.S. at 166 Emspak v. United States,349 U.S. 190, 202
(1955); Bartv.(lniredStates.349U.S.219,222 (1955).AstheCourtexplainedinQuinn,this
nteant the witness "was never confronted with a clear-cut choice between compliance and
noncompliance, between answering the question and risking prosecution tbr contempt. At best he
was lefl to guess whether or not the committee had accepted his objection." 349 U.S. at 166. The
Court went on to state, however, that

              []ust as the witness need not use any particular form of words to
              present his objection, so also the committee is not required to
              resort to any fixed verbal formula to indicate its disposition of the
              objection. So long as the witness is not forced to guess the
              committee's ruling, he has no cause to complain.

Id. at 170.

        The Supreme Court and other federal courts have accordingly reversed contempt
convictions where defendants were not inforrned that their objections had been rejected befbre
the relevant questions were asked, but generally atfirmed them where defendants were so
informed. Compare, e.g., Roley v. Ohio,360 U.S. 423,437-42 (1959), and Grossman v. United
States,229 F.2d 775,776 (D.C. Cir. 1956) with Barenblatt v. United States, 240 F.2d 875, 879-
80 (D.C. Cir. 1957), vacated qnd remanded on other grounds. Barenblatt v. United States,354
U.S. 930 (1957); Davis v. United States,269 F.2d 357,362-63 (6th Cir. 1959); Wollam v. United
States,244F.2d2l2,2l5 (9th Cir. 1957), rev'd on other grounds, Simpsonv. United States.355
U.S. 7 (1957).In this matter. the Committee (l) informed Ms. Lerner, both in writing and in
person, that it had rejected her claim of privilege; (2) warned Ms. Lemer that she could be held
in contempt if she continued to retuse to answer; and (3) then posed questions to her (which she
continued to refuse to answer on grounds ot- privilege). Thus, at the time the Committee posed
the questions, Ms. Lerner was not "forced to guess" the Cornmittee's position on her claim of
privilege. and it would have been an unnecessary "form of words" for the Chairman to continue
to repeat the Committee's ruling and warning fbr each question. Ms. Lemer's retusal therealter
to answer was accordingly "willful" under Section 192.

        B.    Ms. Lerner Did Not Waive Her Fifth Amendment Privilege.

        The Supreme Court has made clear that witnesses who testify before Congress are
protected by the Fifth Amendment to the Constitution. See Quinn,349 U.S. at 161. Thus, it is
undisputed that Ms. Lerner had the right not to testify at the Committee hearing, given the
possibility that her answers could be used against her in a subsequent criminal proceeding. See,
e.g., Hol/mqn v. Unired States,34l U.S. 479.486 (1951); Minnesota v. Murlthy,465 U.S. 420,
426 (1984); United Stares v. Balsys,524 U.S. 666,672 (1998). The only question is whether she
waived that right by giving her opening statement on May 22.2013.

        In tinding that Ms. Lemer waived her Fifth Amendment privilege. the Committee
focused on her assertions that she had done nothing wrong, had broken no laws, had violated no
IRS rules, and had provided no false infbrmation to Congress. Citing the Supreme Court's
decisions in Brov,n v. United States,356 U.S. 148. 154-55 (1958). and Mitchell v. United States,



                                               4
        Case 1:21-cr-00670-CJN Document 28-10 Filed 02/04/22 Page 6 of 8


526 U.S. 314,321 (1999), the Committee fbund that these "four specific denials" amounted to
voluntary testimony about the subject matter of the hearing. which Ms. Lemer could not then
refuse to be questioned about. See Committee Reporl, at I I ,36-37 .

        We respectfully disagree with this conclusion. however. because case law establishes that
Ms. Lemer's general denials of wrongdoing did not amount to "testimony" about the actr"ral facts
under the Committee's review. ln Brown, the defendant in a civil immigration proceeding
voluntarily took the stand and gave substantive testimony on direct examination, but refused to
answer pertinent questions about that testimony on cross-examination. 356 U.S. at 150-52. The
Court upheld the def'endant's contempt conviction for that refusal, noting that a party may not
put a "one-sided account of the matters in dispute" before the trier of fact, which could not be
tested by adversarial cross-examination. Id. at 155. See also Mitchell,526 U.S. at 321 (noting
that "a witness, in a single proceeding, rlay not testify voluntarily about a subject and then
invoke the privilege against seltincrimination when questioned about the details").

        Where witnesses do not off'er szrbslantive testimony, however, and instead merely make
general denials or summary assertions, federal courts have been unwilling to infer a waiver of the
Fifth Amendment privilege. See, e.g., Isaacs v. United States,256 F.2d 654. 656-57" 660-61 (8th
Cir. 1958) (witness before grand jury who repeatedly stated that he had committed no crime did
not waive his Fiflh Amendment privilege): Ballontyne v. United States.237 F.2d 657,665 (5th
Cir. 1956) (concluding that "the United States Attorney could not, by thus skillfully securing
fiom appellant a general claim of innocence. preclude him from thereafter relying upon his
constitutional privilege when confionted with specific withdrawals"); United States v. Hoag,142
F. Supp. 667,669 (D.D.C. 1956) (witness who generally denied being a spy or saboteur before
Congressional committee did not waive Fifth Amendment privilege).

        In her opening  statement befbre the Committee, Ms. Lerner ollbred no account or
explanation of what occurred and revealed no facts about the matters under the Committee's
review. Instead, she made general assertions lacking substantive content. She did not purport to
explain why she believed she was innocent or why any information she had previously provided
was not false. This matter therefore appears materially indistinguishable fiom cases like Isaacs,
Ballantyne, and Hoag. in which det-endants were held not to have waived Fifth Amendment
protection simply by asserting general innocence or even denying guilt of specific offenses.

        There is likely an additional barrier to tinding that Ms. Lerner waived her Fifth
Amendment privilege through her general denials of wrongdoing. Unlike the civil defendant in
Brown and defendants in criminal cases (who similarly subject themselves to wide-ranging
cross-examination if they voluntarily take the stand), Ms. Lerner was an ordinary witness who
had been compelled to testify by subpoena. The Supreme Court has held that "where the
previous disclosure by an ordinary witness is not an actual admission of guilt or incriminating
facts, he is not deprived of the privilege of stopping short in his testimony whenever it may fairly
tend to incriminate him." McCarthy v. Arndstein.262 U.S. 355. 359 (1923); see also, e.g.,
United States ,-. Powe\I,226F.2d269,276 (D.C. Cir. 1955): accord Rogers v. United States.340
U.S. 367, 368.373 (1951). Ms. Lerner did not testify to any incriminatory facts during her
opening statement but, to the contrary, asserted her innocence. Thus. like the def'endant in
Arndstein, she had the right to "stop[] short" after making her self'-exculpatory statement.



                                                 5
       Case 1:21-cr-00670-CJN Document 28-10 Filed 02/04/22 Page 7 of 8



       The Committee found that Ms. Lerner's opening statement was the equivalent of the
"voluntary" testimony at issue in Brou,n, presurnably because she did not have to make the
statement at all. Although in theory this could render the Arndstein line of cases inapplicable,
that conclusion is doubtful. Ms. Lerner was compelled by subpoena to appear before the
Comnrittee on May 22,2013 after she declined an invitation to appear voluntarily and inlbrmed
the Committee that she would invoke her Fifth Amendment privilege. Courts have not fbund
waiver under such circumstances. See, e.g.. Hoag, 142 F. Supp. at 669-71.

       C.      A United States Attorney Rettrins Discretion To Decline To Present a Matter
               to the Grand Jury Under l8 U.S.C. $ 194 When He Determines that a
               Witness Is Shielded From Prosecution by the Constitution.

       Because Ms. Lemer did not waive her Fifth Amendment privilege before refusing to
answer the Committee's questions, a conviction under Section 192 for that refusal would be
unconstitutional. The question thus arises whether Section 194 requires this matter to be
presented to a grand jury even though no prosecution can constitutionally proceed. We have
concluded that it does not.

        This conclusion follows from the Justice Department's longstanding interpretation of
Section 194 as preserving the exercise of prosecutorial discretion in the Executive Branch. It has
long been the position of the Departrnent, across administrations of both political parties, that we
will not prosecute an Executive Branch official under the contempt of Congress statute for
withholding subpoenaed documents pursuant to a presidential assertion of executive privilege.
The fullest explanation of the legal basis 1br the Department's position was provided during the
Reagan Administration by Assistant Attorney General for the Off-rce of Legal Counsel Theodore
Olson. See Pro,;ecution .for Contempl of Congress of an Executiv'e Branch O/ficial Wo Has
Asserted o Claim of Executive Privilege, 8 Op.O.L.C. l0l (1984) (the "1984 Opinion").
Although the 1984 Opinion was issued to address the specific question of contempt citations
made against Executive Branch officials asserting executive privilege. the opinion addressed the
more general question of whether the United States Attorney is required to refer every contempt
of Congress citation to a grand jury. As to that question, the opinion concluded that "as a matter
of statutory construction strongly reinforced by constitutional separation of powers principles,
we believe that the United States Attomey and the Attorney General, to whom the United States
Attomey is responsible, retain their discretion not to refer a contempt of Congress citation to a
grand jury." Id. at 128.

        The 1984 Opinion reached this conclusion for several reasons. First, the opinion noted
that the Departrnent had previously taken the position, in a case where the President's executive
privilege was not at issue, that it was not required to refer a contempt-of--Congress matter to a
grand jury. Id. at l19-20. Second, the opinion noted that a number ofjudicial decisions implicitly
recognized that a United States Attorney retained discretion not to make a refemal to a grand
jury. despite the apparently mandatory language of Section 194. Id. at 120-22. The opinion
explained that the cited cases indicate that "prosecutorial discretion serves a vital purpose in
protecting the rights of the accused in contempt cases by mitigating the otherwise stern
consequences of asserting a right not to respond to a congressional subpoena." Icl. atl22. T'hird,



                                                 6
        Case 1:21-cr-00670-CJN Document 28-10 Filed 02/04/22 Page 8 of 8


the opinion cited the common-law doctrine of prosecutorial discretion, which precludes              an
interpretation that the statute requires automatic referral. 1d. Because the "general rule is that 'the
Executive Branch has exclusive authority and absolute discretion to decide whether to prosecute
a case[,]"'the opinion noted that "courts, as a matter of law. do not ordinarily interpret a statute
to limit that discretion unless the intent to do so is clearly and unequivocally stated." Id. Finally,
the opinion noted that interpreting Section 194 to require ref-erral to a grand jury would raise
serious constitutional problems in light of separation-of--powers principles. Id. at 124-25.'lhe
opinion cited cases in which courts had refused to issue, or overturned on appeal. orders
purporting to compel United States Attomeys to prosecute individuals. Id. at 125-26. Noting the
Supreme Court's admonition that "the Executive Branch has exclusive authority and absolute
discretion to decide whether to prosecute a case," the opinion further stated that "[a] legislative
effbrt to require prosecution of a specific individual has many of- the attributes of a bill of
attainder and would seem to be inconsistent with many of the policies upon which the
Constitution's prohibition against bills of attainder was based." Id. at 126-27 (quoting United
States v. Nixon" 418 U.S. 683,693 (1974)).

        Thus, for at least three decades it has been the Department's position that Section 194
does not eliminate a United States Attorney's traditional prosecutorial discretion not to bring a
specific matter befbre a grand jury. And, in light of the Department's criminal charging policy,
which provides that a federal prosecutor should "commence or recommend Federal prosecution"
of'a person only "if he/she believes that the person's conduct constitutes a Federal offense and
that the admissible evidence will probably be sufficient to obtain and sustain a conviction," see
United States Attorneys' Manual 5 9-27.2204, we have concluded it would not be proper to
commence grand jury proceedings against a witness whose prosecution fbr contempt is barred by
the Constitution.

III.    Conclusion

       We wish to assure you that the Department of Justice does not question the authority of
Congress "to summon witnesses before either House or before their committees," or "to pass
laws 'necessary and proper' to carry into effect its power to get testimony." See Adams v.
Maryland, 347 U.S. 179, 183 (1954) (citing U.S. Const. art. I, $ 8). Thus, in appropriate
circumstances, a United States Attomey's Office will refbr to a grand jury r"rnder Section 192
witnesses who contumaciously withhold testimony or other information that Congress has
legitimately sought to compel in the exercise of its legislative or oversight responsibilities.
Because, however. the authority of any branch of the United States government to compel
witness testimony is limited by the protections of the Constitution. and Ms. Lemer did not waive
those protections in this matter, the United States Attorney's Office will not bring the instant
contempt citation before a grand jury.




                                                       Ronald C. Machen.Ir.
                                                       United States Attorney



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